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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-111V
                                      Filed: March 13, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
MARGARET HOPPER,              *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine;
                              *                               Guillain-Barré syndrome (“GBS”);
SECRETARY OF HEALTH           *                               Miller Fisher Variant; Attorneys’
AND HUMAN SERVICES,           *                               Fees and Costs; Reasonable Amount
                              *                               Requested To Which Respondent
          Respondent.         *                               Does Not Object.
* * * * * * * * * * * * * * * *

Edward Kraus, Law Offices of Chicago Kent, Chicago, IL, for Petitioner.
Julia McInerny, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

        On February 7, 2014, Margaret Hopper (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that, as a result of the administration of an influenza (“flu”) vaccine on January
3, 2013, she suffered from the Miller Fisher Variant of Guillain-Barré syndrome (“GBS”).

       On March 12, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation and attorneys’ fees. Respondent denies that the flu
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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vaccine caused Petitioner’s alleged injuries or any other injury. Nevertheless, the parties agree to
the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages and attorneys’ fees, on
the terms set forth therein.

      The parties stipulate that Petitioner and her attorney shall receive the following
compensation:

       A lump sum of $350,000.00 in the form of a check payable to Petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. § 300aa-15(a);

       A lump sum of $24,440.90, in the form of a check payable jointly to Petitioner and
       Petitioner’s attorney, for attorneys’ fees and costs available under 42 U.S.C. §
       300aa-15(e), and, in compliance with General Order #9, no out-of-pocket expenses
       were incurred by Petitioner in proceeding on the petition; and

       A lump sum of $435.93, for reimbursement of the State of Illinois Department of
       Healthcare and Family Services for Medical Lien, in the form of a check payable
       jointly to Petitioner and

               Bureau of Collection & Technical Recovery Section
               Attn: Mitch Levin, Recovery Specialist
               401 South Clinton
               5th Floor
               Chicago, IL 60627

       Stipulation ¶ 8.

        The undersigned approves the requested amount for Petitioner’s compensation and for
attorneys’ fees. Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master



3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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